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                    IN THE UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

 MICHAEL BRANNIGAN,
 ATTORNEY-IN-FACT FOR                         Case No. 8:21-cv-00456-CEH-AAS
 PATIENT KD, and
 WORLDWIDE AIRCRAFT
 SERVICES, INC., d/b/a/ JET ICU,

                       Plaintiffs,

               v.

 ANTHEM INSURANCE COMPANIES,
 INC., d/b/a ANTHEM BLUE CROSS
 AND BLUE SHIELD,

                       Defendant.

      RENEWED MOTION TO DISMISS FIRST AMENDED COMPLAINT

      Pursuant to Fed. R. Civ. P. 12(b)(1), 12(b)(2), 12(b)(6), and L.R. S.D. Fla. 7.1,

Defendant Anthem Insurance Companies, Inc. d/b/a Anthem Blue Cross and Blue

Shield (“AICI”), by and through undersigned counsel, moves the Court for the entry

of an Order dismissing Plaintiffs’ First Amended Complaint (the “FAC” [Dkt. 14])

for lack of standing, lack of personal jurisdiction, and failure to state a claim.

Plaintiffs—an out-of-network air ambulance company and the company’s attorney

purporting to act pursuant to a power of attorney (“POA”) received from AICI's

member—bring a single claim for benefits under the Employee Retirement Income

Security Act (“ERISA”). Plaintiffs disagree with the amount that AICI determined

was provided under the member’s plan for an out-of-network flight transporting the
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member from Granada to Florida after the member fell ill on a cruise ship in 2019.

      Preliminarily, Plaintiffs lack standing to bring the FAC due to a valid and

enforceable anti-assignment provision in the relevant benefits plan at issue.

Plaintiffs’ FAC—a thinly veiled attempt to skirt the underlying anti-assignment

provision—still does not compensate for the fact that Plaintiff Worldwide Aircraft

Services, d/b/a Jet ICU (“Jet ICU”) did not have standing to bring the original

Complaint. Regardless, even as amended, neither Plaintiff Michael Brannigan as

attorney-in-fact for Patient K.D. (“Brannigan”) nor Jet ICU (collectively,

“Plaintiffs”) have standing to bring the ERISA claim against AICI contained in the

FAC. Brannigan is not suing for the benefit of Patient K.D.; indeed, on the face of

the pleadings, Brannigan is an attorney for Jet ICU and therefore cannot plausibly

assert that he is not suing on behalf of himself and/or Jet ICU. Further, Jet ICU does

not have standing to sue in its individual capacity as it is not a plan beneficiary. The

FAC should be dismissed due to Plaintiffs’ lack of standing.

      Moreover, Plaintiffs fail to allege facts that would establish personal

jurisdiction over AICI. The Court may exercise personal jurisdiction over AICI, an

Indiana Defendant, only if: (1) the Florida long-arm statute is satisfied as to AICI

and (2) AICI has minimum contacts with Florida sufficient to satisfy due process.

Neither requirement is met here because AICI does not conduct any business in

Florida. The Complaint should therefore be dismissed as to AICI.
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      Finally, Plaintiff’s Complaint fails to state a sufficient claim for relief under

ERISA as, despite having the operative plan documents, Plaintiffs cannot and do not

identify which portion(s) of the plan has been breached. Accordingly, the FAC is

also ripe for dismissal on these grounds.

      For all these reasons, Plaintiffs’ FAC should be dismissed.

                        PROCEDURAL BACKGROUND

      Plaintiff Jet ICU originally filed a Complaint on February 25, 2021 bringing

a claim for breach of implied-in-fact contract premised on the same allegations in

the FAC. [Dkt. 1.] Following an agreed upon extension of time for AICI to respond

and a meet and confer wherein AICI provided the underlying Plan, the FAC was

filed on behalf of Jet ICU and Brannigan on April 15, 2021. [Dkt. 14.] Brannigan

alleges that he was granted a POA from Patient K.D. which he alleges confers

ERISA standing. FAC, ¶ 37. Notably, Plaintiffs do not attach a signed POA to the

FAC. FAC, passim.

                           FACTUAL BACKGROUND

      Plaintiffs allege that Jet ICU provided air ambulance services to AICI’s

beneficiary, Patient K.D., on or about November 22, 2019 after Patient K.D. became

ill on a cruise. FAC, ¶¶ 3. Plaintiff Jet ICU is the “on-call Jet air ambulance service

for Princess Cruise Line” but is an out-of-network provider for AICI meaning that it

has no express contract with AICI to provide services to AICI’s members. Id.
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Patient K.D. is a member of a health benefits plan (the “Plan”) that is administered

by AICI and covered by ERISA.1 Plaintiffs allege that AICI preauthorized Jet ICU’s

services as medically necessary but do not make any allegations regarding

representations made by AICI as to an agreed upon rate to transport AICI’s member.

FAC, ¶¶ 4-5. Plaintiffs allege that AICI reimbursed $25,675.40 of the $415,597.00

amount billed leaving an unreimbursed amount of $388,922.60. FAC, ¶ 5. While

Plaintiffs admit that their claim for additional benefits is governed by ERISA, they

also claim they are entitled to “the usual and customary amount governed by Fla.

Stat. § 627.513(5) for emergency services (net of the applicable copayment)” or “the

out-of-network out-of-area rate specified in the AICI Blue Access Health Certificate

of Coverage issued to patient K.D.” FAC, ¶¶ 1, 6-7. Plaintiffs do not cite to any

provision in the Plan supporting these allegations.

      Plaintiffs’ only allegations concerning the existence of personal jurisdiction

are that AICI “systematically and continuously conducts business in the State of

Florida, and otherwise has minimum contacts with the State of Florida sufficient to

establish personal jurisdiction over it.” FAC, ¶ 9. Plaintiffs allege broadly and

vaguely that AICI conducts business in this State by (1) authorizing Florida

healthcare providers to provide healthcare services to its members and paying for


1
 A true and correct copy of the Plan is attached to the Declaration of Michelle Kersey
(“Kersey Decl.”), attached hereto as Exhibit A.
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such services; (2) contracting with “home plans” to process and pay its claims in

Florida pursuant to the Blue Card Program; and (3) intentionally advertising to its

members that it provides access to healthcare goods and services in Florida. FAC,

¶ 10. Neither Plaintiffs’ conclusory allegations nor the record evidence establish

personal jurisdiction over AICI given that AICI has no minimum contacts in Florida.

                               LEGAL STANDARD

      Rule 8 requires a complaint to contain “a short and plain statement of the claim

showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). “The point is

to give the defendant fair notice of what the claim is and the grounds upon which it

rests.” Davis v. Coca-Cola Bottling Co. Consol., 516 F.3d 955, 974 (11th Cir. 2008)

(internal citation omitted). Although a court must accept well pleaded allegations as

true, this rule “is inapplicable to legal conclusions.” Id. at 678. Granting a motion

to dismiss is appropriate when a complaint contains simply “a formulaic recitation

of the elements of a cause of action.” See Bell Atl. Corp. v. Twombly, 550 U.S. 544

(2007). To survive a motion to dismiss, a complaint must contain factual allegations

that “raise a reasonable expectation that discovery will reveal evidence” in support

of the claim. See id. Mere conclusory allegations, however, are not entitled to the

assumption of truth. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).




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                                   ARGUMENT

I.    NEITHER JET ICU NOR BRANNIGAN HAVE STANDING TO
      BRING AN ERISA CLAIM.

      Neither Plaintiff to the FAC has the necessary statutory or derivative authority

to claim legal standing to bring an ERISA claim. “Two categories of persons may

sue for benefits under an ERISA plan: plan beneficiaries and plan participants.”

Griffin v. Coca–Cola, 686 Fed. App’x. at 821–22 (citing 29 U.S.C. § 1132(a)(1)(B)).

The Eleventh Circuit has explained that

      Section 502(a) of ERISA provides that only plan participants and plan
      beneficiaries may bring a private civil action to recover benefits due
      under the terms of a plan, to enforce rights under a plan, or to recover
      penalties for a plan administrator’s failure to provide documents. 29
      U.S.C. § 1132(a)(1), (c). This provision also limits the right to sue for
      breach of fiduciary duty to plan participants, plan beneficiaries, plan
      fiduciaries, and the Secretary of Labor. Id. § 1132(a)(2). Additionally,
      only plan participants, plan beneficiaries, and plan fiduciaries may
      bring a civil action to obtain equitable relief to redress a practice that
      violates ERISA or the terms of a plan. Id. § 1132(a)(3).
Griffin v. Habitat for Humanity Int’l, Inc., 641 Fed. App’x. 927, 930 (11th Cir.

2016). “Healthcare providers are typically not ‘participants’ or ‘beneficiaries,’ so

they lack independent standing, but they may obtain derivative standing through a

written assignment from a beneficiary or participant.” Griffin v. Coca–Cola, 686

Fed. App’x. at 821–22. “Because ERISA–governed plans are contracts, the parties

are free to bargain for certain provisions in the plan—like assignability.” Physicians

Multispecialty Grp. v. Health Care Plan of Horton Homes, Inc., 371 F.3d 1291, 1296

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(11th Cir. 2004); see Griffin v. Habitat for Humanity, 641 Fed. Appx. at 930 (“We

have recognized that “[h]ealthcare providers may acquire derivative standing ... by

obtaining a written assignment from a ‘beneficiary’ or ‘participant’ of his right to

payment of benefits under an ERISA-governed plan.”) (internal citations omitted).

Further, the assignment “of the right to payment for medical benefits… also conveys

the right to file an action under section 502(a) of ERISA for unpaid benefits.” Griffin

v. Coca–Cola, 686 Fed. App’x. at 821–22 (citing Conn. State Dental Ass’n v.

Anthem Health Plans, Inc., 591 F.3d 1337, 1352–53 (11th Cir. 2009)).

      Here, the FAC appears to allege that Brannigan has derivative standing to

pursue the ERISA cause of action (the only cause of action in the FAC) due to a

Power of Authority (“POA”) issued to Brannigan by AICI’s beneficiary, K.D.

Notably, the FAC is silent with regard to Jet ICU’s standing to bring an ERISA

claim. Regardless, neither Jet ICU nor Brannigan allege standing sufficient to bring

an ERISA claim. Accordingly, the FAC should be dismissed.

      A.     Jet ICU Does Not Allege (Nor Could It) Standing to Bring a Claim
             for Benefits Under ERISA

      Preliminarily, Jet ICU cannot and does not have standing to bring an ERISA

claim due to a valid and unambiguous anti-assignment clause contained in the Plan.

The Eleventh Circuit has long held that “an unambiguous anti-assignment provision

in an ERISA-governed welfare benefit plan is valid and enforceable.” Id. Such an

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anti-assignment provision “will operate to void the assignment,” and “[i]f there is

such an unambiguous anti-assignment provision, the healthcare provider will lack

derivative standing and cannot maintain the ERISA action.” Griffin v. Coca–Cola,

686 Fed. Appx. at 821–22; see Griffin v. Habitat for Humanity, 641 Fed. Appx. at

930 (“[W]hen a plan contains an unambiguous anti-assignment provision, a plan

participant or beneficiary may not assign benefits to a healthcare provider, meaning

the healthcare provider cannot acquire a cause of action under section 502(a)”).

      Here, Plaintiffs jointly attempt to skirt an unambiguous anti-assignment

provision by changing the posture of the FAC. However, alleging derivative ERISA

standing via Brannigan’s POA still does not confer standing to Jet ICU. This is,

quite simply, because Jet ICU does not have standing: due to the valid and

enforceable anti-assignment clause, Jet ICU is precluded from bringing a claim for

benefits under ERISA.

             1.    The Anti–Assignment Clause is Valid

      In considering whether the Plan’s anti-assignment clause is unambiguous (and

thus valid), the Court should be guided not only by the plain language of the clause,

but also by the Eleventh Circuit’s consideration of the anti-assignment clauses in

Physicians Multispecialty, Griffin v. Habitat for Humanity, and Griffin v. Coca–

Cola.. In Physicians Multispecialty, the Eleventh Circuit found that the following

anti-assignment clause was clear and unambiguous:
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      “[e]xcept as applicable law may otherwise require, no amount payable
      at any time... shall be subject in any manner to alienation by...
      assignment... of any kind [ ].”

371 F.3d at 1296. In Griffin v. Habitat for Humanity, the Circuit found that the

insured’s assignments to her healthcare provider were void due to the following anti-

assignment clause:

      “Except as applicable law may otherwise require, no amount payable at
      any time hereunder shall be subject in any manner to alienation by ...
      assignment.... Any attempt to ... assign ... any such amount, whether
      presently or hereafter payable, shall be void.”

641 Fed. Appx. at 931. And in Griffin v. Coca–Cola, the Eleventh Circuit found

that the following anti-assignment clause was unambiguous:

      “Members cannot legally transfer the coverage. Benefits under [the
      plan] are not assignable by any member without obtaining written
      permission” from the plan administrator.

686 Fed. Appx. at 822.

      Here, the Plan contains two applicable anti-assignment clauses which state

that Patient K.D.:

   • “[C]annot assign your right to receive payment to anyone…” and
     “cannot legally transfer the coverage.”; and

   • “Benefits available under this Certificate are not assignable by any
     member without obtaining written permission from the Plan… .”

See Kersey Decl. at Ex. 1, Page M-85. These provisions are unambiguous on their

face. Plaintiffs have not asserted (nor could they) that they obtained written


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 permission from the Plan. Compared to other anti-assignment clauses that the

 Eleventh Circuit has already deemed unambiguous, the anti-assignment clause at

 issue here is clear and unambiguous. See Surgery Ctr. of Viera, LLC v. United

 Launch All. LLC, No. 617CV755ORL40DCI, 2018 WL 922203, at *4–5 (M.D. Fla.

 Jan. 31, 2018). Accordingly, Plaintiff Jet ICU does not have standing to bring a

 claim for benefits under ERISA and should be dismissed from this case.

       B.     Plaintiff’s Power-of-Attorney Theory Fails on Multiple Fronts.

       Given the inability of Jet ICU to bring an ERISA claim, Plaintiffs allege that

 Brannigan has a POA in an attempt to allege derivative standing under ERISA.

 However, for multiple reasons, this pleading stratagem fails.

              i.     Brannigan is not suing for the benefit of Patient K.D.

       Recognizing that any alternative theory of standing by Jet ICU is foreclosed

 by the valid and enforceable anti-assignment provisions in the Plan, Plaintiffs try to

 skirt the issue of ERISA standing via the alleged POA to Brannigan. However, an

 attorney-in-fact may not act for its own benefit; it must only act for the benefit of its

 principal. See In re Estate of Bell, 573 So. 2d 57, 59 (Fla. Dist. Ct. App. 1990) (power

 of attorney did not authorize agent to use principal’s funds for her own personal

 benefit); see also Martin v. Sealey, 1985 WL 1177602, at *2 (Terr. V.I. Feb. 7, 1985)

 (“Absent specific authority to do otherwise, an attorney in fact may act only for the

 benefit of the principal.”) (citing Restatement (Second) of Agency § 39).
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       Florida federal courts have applied this rule in the ERISA context, including

 expressly holding that a POA does not give a plaintiff standing to pursue ERISA

 claims in its own name. See Peacock Med. Lab, LLC v. UnitedHealth Grp., Inc.,

 No. 14-81271-CV, 2015 WL 2198470, at *3 (S.D. Fla. May 11, 2015) (citing

 Loveland ex rel. Loveland v. State Farm Fire & Cas. Co., No. 13–20177–CIV–

 HUCK, 2013 WL 1325365, at *2 (S.D.Fla. Apr.1, 2013); Luria–Akin v. Devonshire

 at PGA Nat., LLC, No. 08–80349CIV–MARRA/JO, 2008 WL 1745063, at *1

 (S.D.Fla. Apr.11, 2008); Falin v. Condo. Ass’n of La Mer Estates, Inc., No. 11–

 61903–CV, 2011 WL 5508654, at *2 (S.D.Fla. Nov.9, 2011)).

       Here, Brannigan’s sole connection to this case is via the POA from AICI’s

 beneficiary, Patient K.D. Because Brannigan does not have standing to bring a claim

 in his own name under Florida precedent, Brannigan should be dismissed as an

 improper plaintiff.

              ii.      The failure to attach the POA necessitates dismissal.

       Plaintiffs’ failure to attach the POA demonstrates that the POA likely does not

 withstand scrutiny. Powers of attorney are creatures of state law, see 140 Am. Jur.

 Trials 185 (2015), and are strictly construed. Dingle v. Prikhdina, 59 So.3d 326, 328

 (Fla. 5th DCA 2011). “[An] attorney-in-fact can seek relief under [ERISA] for an

 Individual Plaintiff only if that Individual Plaintiff is still owed payment or

 reimbursement. Otherwise, [the attorney-in-fact] is not acting within the scope of
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 the POA; it is acting to obtain payment for itself, not for the Individual Plaintiff.”

 Chiron Recovery Ctr., LLC v. United Healthcare Servs., Inc., No. 19-80766-CIV,

 2019 WL 9104170, at *8 (S.D. Fla. Sept. 13, 2019), report and recommendation

 adopted, No. 9:19-CV-80766, 2019 WL 9104169 (S.D. Fla. Nov. 26, 2019).

 Because the FAC is devoid of facts relating to (1) the scope of the POA, (2) the

 portions of the Plan allegedly breached, and (3) how Patient K.D. is entitled to any

 reimbursement under the facts given, Brannigan does not allege sufficient facts to

 state a plausible claim that he is acting within the score of the POA. Id. Accordingly,

 Plaintiff Brannigan lacks standing to state a claim for relief under Rule 12(b)(1).

       Moreover, Florida’s Power of Attorney Act requires valid powers of attorney

 to contain very specific formalities and “must be signed by the principal and by two

 subscribing witnesses and be acknowledged by the principal before a notary public.”

 Fla. Stat. Ann. § 709.2105. Plaintiffs’ failure to attach a POA to the FAC leaves the

 Court unable to discern if Brannigan holds a valid power of attorney under Florida

 law. Thus, Plaintiff Brannigan should not be permitted to proceed, notwithstanding

 that he cannot rely on a POA to prosecute this action.

 II.   PLAINTIFFS FAIL TO ALLEGE PERSONAL JURISDICTION
       Plaintiffs’ jurisdictional allegations are solely directed to general jurisdiction,

 which the Supreme Court has recently made clear only apply against an out of state

 defendant such as AICI in extraordinary cases, none of which are even alleged here.
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 FAC, ¶ 9; Daimler AG v. Bauman, 134 S. Ct. 746, 761 (2014). Rather, in order to

 sustain personal jurisdiction, Plaintiffs must allege that there is a specific nexus

 between this claim and AICI’s contacts with Florida. Because Plaintiffs cannot

 make such allegations, their FAC must be dismissed.

       A.     AICI is Not Subject to General Jurisdiction in Florida.

       Recent Supreme Court case law has followed a trend of narrowing personal

 jurisdiction over corporate defendants. See Fincantieri-Cantieri Navali Italiani

 S.p.A. v. Yuzwa, 241 So. 3d 938, 944 (Fla. 3d DCA 2018), reh’g denied (May 7,

 2018) (“More recently, the Supreme Court has decided two cases that raise the bar

 even higher for general jurisdiction.”). These cases hold that general personal

 jurisdiction is available only where a corporation is “at home” – which means that

 ordinarily, the corporation is only subject to general jurisdiction where it is

 incorporated and (if different) where it has its principal place of business. Daimler,

 134 S. Ct. at 761; see also Goodyear Dunlop Tires Operations, S.A. v. Brown, 564

 U.S. 915, 924 (U.S. 2011) (stating that “for a corporation, it is an equivalent place,

 one in which the corporation is fairly regarded as at home . . . identifying domicile,

 place of incorporation, and principal place of business as ‘paradig[m]” bases for the

 exercise of general jurisdiction’”). General jurisdiction will only exist outside those

 limited locations in “exceptional circumstances.” Daimler, 134 S. Ct. at 761 (“We

 do not foreclose the possibility that in an exceptional case . . . a corporation’s
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 operations in a forum other than its formal place of incorporation or principal place

 of business may be so substantial and of such a nature as to render the corporation

 at home in that State. But this case presents no occasion to explore that question,

 because Daimler’s activities in California plainly do not approach that level.”). As

 in Daimler, there are no exceptional facts here and there is no basis for general

 jurisdiction over AICI.2

       B.     Plaintiffs Have Not Met Their Pleading Burden to Establish
              Long-Arm Jurisdiction Over AICI.
       “A plaintiff seeking the exercise of personal jurisdiction over a nonresident

 defendant bears the initial burden of alleging in the complaint sufficient facts to

 make out a prima facie case of jurisdiction.” United Techs. Corp. v. Mazer, 556 F.3d

 1260, 1274 (11th Cir. 2009); see also RMS Titanic, Inc. v. Kingsmen Creatives, Ltd.,

 579 F. App’x 779, 783 (11th Cir. 2014) (same) (per curiam); Future Tech. Today,

 Inc. v. OSF Healthcare Sys., 218 F.3d 1247, 1249 (11th Cir. 2000) (“Plaintiff’’s


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   While the Supreme Court recently revisited the issue of corporate personal
 jurisdiction in Ford Motor Co. v. Montana Eighth Judicial District Court, 141 S.Ct.
 1017 (2021), that case does not affect the analysis under Daimler and Bristol-Myers
 Squibb (see infra). The Court in Ford dealt with the issue of whether a product
 manufacturer “serves a market for a product in a State and that product causes injury
 in the State to one of its residents.” Id. at 1022. Here, there is no product or injury
 causation at issue; this is a case about a health benefits policy issued in Indiana to an
 Indiana resident who happened to be flown to Florida by a Florida company that had
 no relationship with AICI. As discussed in the accompanying declaration, AICI is
 an Indiana corporation with nothing like the activities in Ford, and the case is
 therefore inapposite.
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 burden in alleging personal jurisdiction is to plead sufficient material facts to

 establish the basis for the exercise of such jurisdiction.”) (per curiam); Taylor Forge

 Int’l, Inc. v. Specialty Maintenance & Constr., Inc., 685 So. 2d 1360, 1361 (Fla. 2d

 DCA 1996) (“Before a court may exercise long-arm jurisdiction over a nonresident

 defendant, the basis for jurisdiction must be alleged with specificity in the

 complaint.”) (emphasis added). Moreover, “[i]t goes without saying that, where the

 defendant challenges the court’s exercise of jurisdiction over its person, the plaintiff

 bears the ultimate burden of establishing that personal jurisdiction is present.”

 Oldfield v. Pueblo de Bahia Lora, S.A., 558 F.3d 1210, 1217 (11th Cir. 2009).

       In seeking to establish personal jurisdiction over a nonresident defendant, a

 plaintiff bears the initial burden and “must plead the basis for personal jurisdiction

 pursuant to the applicable long-arm statute.” Kitroser v. Hurt, 85 So. 3d 1084, 1087

 (Fla. 2012). A plaintiff can satisfy this initial burden “either by alleging the language

 of the statute without pleading supporting facts, or by alleging specific facts that

 indicate that the defendant’s actions fit within one of the sections of Florida’s long

 arm statute, section 48.193.” Biloki v. Majestic Greeting Card Co., Inc., 33 So. 3d

 815, 819 (Fla. 4th DCA 2010); see also Taylor Forge Int’l, Inc. v. Specialty

 Maintenance & Constr., Inc., 685 So. 2d 1360, 1361 (Fla. 2d DCA 1996) (“Before

 a court may exercise long-arm jurisdiction over a nonresident defendant, the basis

 for jurisdiction must be alleged with specificity in the complaint.”) (emphasis
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 added). Plaintiffs fail to do so here.

       Plaintiffs do not allege under what provision of Florida’s long-arm statute they

 contend jurisdiction over AICI exists. See FAC, ¶ 9 (“Anthem systematically and

 continuously conducts business in the State of Florida, and otherwise has minimum

 contacts with the State of Florida sufficient to establish personal jurisdiction over

 it.”). Regardless, at most, Plaintiffs allege that AICI engages in generic activities

 that are insufficient to establish a prima facie case of personal jurisdiction. Plaintiffs

 claim AICI “transacts” and “conducts a substantial amount of business in the Middle

 District of Florida including marketing, advertising and selling insurance products,

 and insures and administers group healthcare insurance plans both inside and outside

 the Middle District of Florida...” FAC, ¶ 10. Even accepting these alleged acts as

 true, the acts do not establish a basis for jurisdiction under Florida’s long-arm statute

 because they have no pleading-based connection to Plaintiffs’ claim that Patient

 K.D.’s ERISA benefits were wrongly calculated.

       In this regard, Florida’ long-arm statute has a close “nexus” requirement. It

 provides that a person “who personally or through an agent does any of the acts

 enumerated in this subsection” submits himself or herself to the jurisdiction of this

 state “for any cause of action arising from any of the following acts.” Fla. Stat. §

 48.193(1) (emphasis added); see also Goode v. Celebrity Cruises, Inc., No. 16-

 24131-CIV, 2017 WL 4347133, at *4 (S.D. Fla. 2017) (“Specific jurisdiction arises
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 out of a party’s activities in the forum that are related to the cause of action alleged

 in the complaint.”) (internal citations omitted) (emphases added); see also Caribe &

 Panama Investments, S. A. v. Christensen, 375 So. 2d 601, 603 (Fla. 3d DCA 1979)

 (holding that plaintiff pleaded insufficient facts to establish jurisdiction, reaffirming

 “the established law that a plaintiff must allege sufficient facts that the non-resident

 defendant was doing business in Florida and that the cause of action sued upon

 arose out of such business before jurisdiction attaches”) (emphasis added).

       The Supreme Court has recently emphasized—if not heightened—this close

 nexus requirement:

       In order for a court to exercise specific jurisdiction over a claim, there
       must be an ‘affiliation between the forum and the underlying
       controversy, principally, [an] activity or an occurrence that takes place
       in the forum State.’… When there is no such connection, specific
       jurisdiction is lacking regardless of the extent of a defendant’s
       unconnected activities in the State.
 Bristol-Myers Squibb Co. v. Superior Court of California, San Francisco County,

 137 S. Ct. 1773, 1781 (2017) (internal citation omitted). Other federal courts have

 followed suit in applying this close “nexus” requirement to their jurisdictional

 analysis. See, e.g., Hinkle v. Continental Motors, Inc., No. 16-CV-2966, 2017 WL

 3333120, at * (M.D. Fla. July 21, 2017) (dismissing suit for lack of personal

 jurisdiction because “In Bristol-Myers Squibb… the Supreme Court recently

 clarified the standard for… specific jurisdiction [and] reiterated that… the suit must

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 arise out of or relate to the defendant’s contacts with the forum); Andrew v.

 Radiancy, Inc., No. 616CV1061ORL37GJK, 2017 WL 2692840, at *3 (M.D. Fla.

 June 22, 2017) (“The law is clear that, when specific jurisdiction is at issue, the Court

 must disregard forum contacts that are not connected to the plaintiff’s causes of

 action.”).

       Here, none of the activities that Plaintiffs allege AICI engaged in are

 connected in any way to Plaintiffs in general, let alone the ERISA claim Plaintiffs

 bring. First, Plaintiffs allege that AICI authorized Plaintiff Jet ICU to transport

 Patient K.D.; however, Plaintiffs admit that the alleged authorization allegedly

 occurred in Grenada, not Florida. FAC, ¶ 17. Second, Plaintiffs appear to vaguely

 allege that AICI may have contracts with a “host” Florida plan while AICI itself is

 the “home” plan, although Plaintiffs wholly fail to identify any Florida-based entity

 aside from themselves. FAC, ¶¶ 29-34. Moreover, an allegation about a contract

 AICI may have with an entity other than Plaintiffs does not confer personal

 jurisdiction over them. See Bristol-Myers Squibb Co., 137 S. Ct. at 1777 (“The bare

 fact that BMS contracted with a California distributor is not enough to establish

 personal jurisdiction in the State.”). In fact, one Florida appellate court recently held

 that Plaintiffs’ exact same legal theory—that contracting with Florida Blue

 establishes specific jurisdiction over a nonresident insurance company—was legally

 insufficient and failed to confer jurisdiction. See Carefirst of Maryland, Inc. v.
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 Recovery Vill. at Umatilla, LLC, 248 So. 3d 135, 136 (Fla. 4th DCA 2018) (rejecting

 the notion that being “a licensee of Blue Cross and participat[ing] in the Blue Card

 Program, which allows members to receive treatment nationwide while allowing the

 defendant to charge the in-state discounted rates that Blue Cross uses in that state”

 is sufficient to confer personal jurisdiction over that licensee).

       Plaintiffs’ third allegation—that AICI “transacts business in the Middle

 District of Florida… including marketing, advertising and selling insurance

 products”—is as conclusory as it is irrelevant. Plaintiffs do not allege that any of

 this business or these advertisements were related to Plaintiffs, or even to air

 ambulance or emergency transport services in general. See Aegis Def. Services, LLC

 v. Gilbert, 222 So. 3d 656, 661 (Fla. 5th DCA 2017) (“Specific jurisdiction requires

 a connection or ‘connexity’ between the enumerated activity in Florida and the cause

 of action.”). Plaintiffs also do not identify what this alleged advertising activity was;

 “conclusory allegations, unwarranted deductions of facts or legal conclusions

 masquerading as facts will not prevent dismissal.” Snow v. DirecTV, Inc., 450 F.3d

 1314, 1320 (11th Cir. 2006) (affirming personal jurisdiction motion to dismiss

 because the plaintiff relied on “vague and conclusory allegations”).

       Particularly in light of the fact that “Florida’s long-arm statute is to be strictly

 construed,” Fraser v. Smith, 594 F.3d 842, 848 n.8 (11th Cir. 2010) (internal

 references omitted), Plaintiffs’ superficial jurisdictional allegations are insufficient
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 to meet its prima facie pleading burden. The FAC should be dismissed. See Taylor,

 685 So. 2d at 1361 (“Because the complaint fails to allege the basis for long-arm

 jurisdiction, the trial court should have granted Taylor Forge’s motion to dismiss.”).

       B.     Even if Plaintiffs Met Their Initial Pleading Burden, There Is No
              Factual Basis for Long-Arm Jurisdiction Here.

       Further, even if Plaintiffs met their initial pleading burden (they have not),

 there is still no basis for the proper exercise of long-arm jurisdiction over AICI.

              i.     Legal Standard for Long Arm Jurisdiction

       If a plaintiff meets its initial pleading burden, the defendant may “challenge[]

 jurisdiction by submitting affidavit evidence in support of its position” that no such

 jurisdiction in fact exists. Mazer, 556 F.3d at 1274. If the defendant does so, the

 burden again shifts, and “the plaintiff bears the burden of proving sufficient

 jurisdiction by affidavits or other sworn statements.” Abramson v. Walt Disney Co.,

 132 F. App’x 273, 275 (11th Cir. 2005); see also Mazer, 556 F.3d at 1274 (“Where,

 as here, the defendant challenges jurisdiction by submitting affidavit evidence in

 support of its position, the burden traditionally shifts back to the plaintiff to produce

 evidence supporting jurisdiction.”) (internal quotations and citation omitted). In all

 events, as at the pleading stage, “[i]t goes without saying that, where the defendant

 challenges the court’s exercise of jurisdiction over its person, the plaintiff bears the

 ultimate burden of establishing that personal jurisdiction is present.” Oldfield, 558

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 F.3d at 1217.

       In undertaking this jurisdictional analysis, Florida law regards the statutory

 requirements as overlapping with due process requirements, but not as identical. See

 Venetian Salami Co. v. Parthenais, 554 So. 2d 499, 502 (Fla. 1989) (“The mere

 proof of any one of the several circumstances enumerated in section 48.193 as the

 basis for obtaining jurisdiction of nonresidents does not automatically satisfy the due

 process requirement of minimum contacts.”). Thus, courts must follow a two-step

 approach: (1) determine if jurisdiction is factually appropriate under the state long-

 arm statute; and (2) determine if jurisdiction would violate the Due Process Clause

 of the Fourteenth Amendment of the United States Constitution. See id. at 500-02;

 see also Mazer, 556 F.3d at 1274; Cross Country Home Servs., Inc. v. Home Serv.

 USA Corp., No. 08-61456-CIV, 2010 WL 55439, at *2 (S.D. Fla. Jan. 6, 2010).

 Applied to the record evidence here, Plaintiffs cannot meet either step of this

 controlling inquiry.

              ii.    The Record Evidence Establishes AICI’s Lack of Minimal
                     Contacts with Florida

       AICI is an Indiana Corporation with its principal place of business located in

 Indianapolis, Indiana. See Kersey Decl., ¶ 3. AICI does not maintain any corporate

 office outside the State of Indiana. Id. AICI is not authorized or licensed to sell

 insurance in the State of Florida and is not registered with the Florida Office of

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 Insurance Regulation. Id. ¶ 4. AICI does not pay Florida taxes. Id. ¶ 6. AICI does

 not maintain, and has never maintained, an office or any type of presence in the State

 of Florida and does not have an agent for service of process in this State. Id. Further,

 AICI does not specifically direct advertising or promotional materials to the State of

 Florida, including advertisements on television, radio, or newspapers. Id. AICI does

 not solicit any business in the State of Florida, whether via mail, facsimile, email, or

 telephone. Id. AICI never contracted with Plaintiff Jet ICU either in Florida or

 Indiana, or elsewhere, regarding the claims at issue in this case. Id. ¶ 8. At all times

 relevant to this dispute, Plaintiff Jet ICU was an out-of-network provider that did not

 have a participating provider contract with AICI. Id. ¶ 7. In short, and contrary to

 Plaintiffs’ superficial allegations, AICI exhibits none of the factual hallmarks of

 “conduct[ing] a substantial amount of business in Florida.” FAC, ¶ 10.

       The fact that Jet ICU, the patient at issue, or the respective medical providers

 may have chosen to be transported to Florida does not support jurisdiction. See, e.g.,

 Courboin v. Scott, 596 F. App’x 729, 734 (11th Cir. 2014) (“[T]the unilateral activity

 of those who claim some relationship with a nonresident defendant cannot satisfy

 the requirement of contact with the forum State.”); Kindred Hosps. E., LLC v.

 Buffalo Bd. of Educ., No. 8:17-cv-1106-T-24MAP, 2017 WL 3622154, at *4 (M.D.

 Fla. Aug. 23, 2017) (“The Court agrees with Defendants that they did not

 purposefully avail themselves of the privilege of conducting business within Florida.
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 The only connection Defendants have with Florida is a result of the unilateral activity

 of the Insured.”).

        Accordingly, there are no Florida contacts by AICI related to Plaintiff’s

 causes of action. Thus, AICI has not purposely availed itself of the privileges of

 conducting business activities within this state and could not reasonably have

 expected to be hauled into a Florida court. Nor would exercising personal

 jurisdiction over them comport with notions of fair play and substantial justice. The

 FAC against AICI should be dismissed.

 III.   PLAINTIFFS ALSO FAIL TO STATE A CLAIM FOR BENEFITS
        UNDER ERISA

        In addition to being ripe for dismissal due to failures to sufficiently allege

 standing and personal jurisdiction, Plaintiffs’ FAC should also be dismissed as it

 fails to state an ERISA claim for benefits sufficient to meet the requisite pleading

 standard. To state a claim for benefits under ERISA, a plaintiff must plead facts

 showing that there are “benefits due” to them “under the terms of” an ERISA plan.

 See 29 U.S.C. § 1132(a)(1)(B). This means Plaintiffs are required to identify the

 specific plan terms that confer the benefits sought. RMP Enterprises, LLC v.

 Connecticut Gen. Life Ins. Co., No. 9:18-CV-80171, 2018 WL 6110998, at *6 (S.D.

 Fla. Nov. 21, 2018) (citing Sanctuary Surgical Ctr. v. UnitedHealth Group, Inc.,

 2013 WL 149356, at *3 (S.D. Fla. 2013); Polk Medical Center, Inc. v. Blue Cross

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 and Blue Shield of Georgia, Inc., No. 1:17-cv-3692, 2018 WL 624882, at *3 (N.D.

 Ga. Jan. 30, 2018).

       Eleventh Circuit courts have clearly articulated that to state a claim for relief

 under ERISA, the complaint must identify the controlling ERISA plans that

 purportedly confer the claimed benefit and must identify the specific terms and

 provisions of the plans on which a plaintiff relies. In re Managed Care Litig., No.

 08-20005-CIV, 2009 WL 742678, at *3-4 (S.D. Fla. Mar. 20, 2009); Sanctuary

 Surgical Ctr., Inc. v. UnitedHealth Grp., Inc., No. 10-81589-CIV, 2013 WL 149356,

 at *5-6 (S.D. Fla. Jan. 14, 2013) (“[B]enefits payable under an ERISA plan are

 limited to the benefits specified in the plan,” and, accordingly, “[a] plaintiff who

 brings a claim for benefits under ERISA must identify a specific plan term that

 confers the benefit in question.”) (quoting Stewart v. Nat’l Educ. Ass’n, 404 F. Supp.

 2d 122, 130 (D.D.C. 2005)). If a complaint fails to adequately identify the specific

 plans and their terms, then “the action must be dismissed for failure to state a claim.”

 Stewart, 404 F. Supp. 2d at 131.

       Here, despite having the applicable plan documents in their possession,

 Plaintiffs still fail to identify a single provision of the Plan that AICI allegedly

 violated. That is, quite simply, because they cannot do so: AICI has not violated the

 underlying Plan with Patient K.D. Accordingly, Plaintiffs fail to state a claim for

 additional benefits under ERISA § 502(a)(1)(B) and their claim should be dismissed
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 on these additional grounds as well.

 IV.   PLAINTIFFS’ FAC SHOULD BE DISMISSED WITH PREJUDICE AS
       AMENDMENT IS FUTILE

       Quite simply, Plaintiffs cannot amend the FAC to remedy to myriad of issues

 precluding them from bringing a viable claim against AICI. A court may dismiss a

 complaint without affording an opportunity to amend “(1) where there has been

 undue delay, bad faith, dilatory motive, or repeated failure to cure deficiencies by

 amendments previously allowed; (2) where allowing amendment would cause undue

 prejudice to the opposing party; or (3) where amendment would be futile.” Bryant v.

 Dupree, 252 F.3d 1161, 1163 (11th Cir. 2001) (per curiam). Where, as here,

 Plaintiffs have already amended and such amendment still fails to resuscitate the

 underlying claim, the Court should dismiss without leave for further amendment.

                                  CONCLUSION

       For all of the foregoing reasons, the Court should enter an Order granting

 this Motion and dismissing the Complaint with prejudice.

                                 Respectfully,

                                 TROUTMAN PEPPER
                                 HAMILTON SANDERS LLP

                                  /s/ Chad R. Fuller
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                               Blue Shield




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                       LOCAL RULE 3.01(g) CERTIFICATION

       Pursuant to Local Rule 3.01(g), counsel for Defendant states that they

 conferred with counsel for Plaintiffs regarding Defendant’s Motion to Dismiss via

 telephone on Friday, May, 28, 2021. Counsel for Plaintiffs indicated that Plaintiffs

 oppose the relief requested herein.


 Dated: June 3, 2021                           Respectfully submitted,

                                       Defendant Anthem Insurance Companies,
                                       Inc., d/b/a Anthem Blue Cross and Blue
                                       Shield

                                       /s/ Chad R. Fuller
                                       Chad R. Fuller, Esq.

                                       Counsel for Defendant


             CERTIFICATION AND CERTIFICATE OF SERVICE

       I hereby certify that on June 3, 2021, this Renewed Motion to Dismiss

 Plaintiffs’ First Amended Complaint was electronically filed with the Clerk of Court

 using the CM/ECF electronic filing system, which will then send a notification of

 such filing to counsel of record.

                                       /s/ Chad R. Fuller
                                       Chad R. Fuller, Esq.

                                       Counsel for Defendant

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